

Matter of Renee J.B. v Jeffrey N.B. (2021 NY Slip Op 05283)





Matter of Renee J.B. v Jeffrey N.B.


2021 NY Slip Op 05283


Decided on October 05, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 05, 2021

Before: Renwick, J.P., Gische, Kapnick, Kennedy, Shulman, JJ. 


Docket No. F-06037-13/18J Appeal No. 14273 Case No. 2021-00410 

[*1]In the Matter of Renee J.B., Petitioner-Appellant,
vJeffrey N.B., Respondent-Respondent.


Orrick, Herrington &amp; Sutcliffe LLP, New York (Rene Kathawala of counsel), for appellant.
Georgia Pestana, Corporation Counsel, New York (Jane L. Gordon of counsel), for respondent.



Order, Family Court, Bronx County (Phaedra Perry, J.), entered on or about November 24, 2020, which, to the extent appealed from as limited by the briefs, denied petitioner's objections to an order of the same court (Harold E. Bahr III, Support Magistrate), entered on or about June 23, 2020, denying her motion to compel the Office of Child Support Services, Support Collection Unit, to comply with a subpoena, unanimously affirmed, without costs.
Family Court properly confirmed the Support Magistrate's determination, which is entitled to great deference on appeal, that the agency timely complied with both the original subpoena and the orally amended one (see Matter of Stone v Stone, 236 AD2d 615 [2d Dept 1986]). In order to evaluate the petitioner's motion, the Support Magistrate properly considered the credibility that the agency was accurately reporting its efforts to enforce the support order and respond to the subpoena (see Davis v Melnicke, 39 AD3d 378 [1st Dept 2007], lv dismissed 9 NY3d 984 [2007]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 5, 2021








